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Michael J. Canning, Esq. (MJC3060)
GIORDANO, HALLERAN & CIESLA, P.C.
125 Half Mile Road, Suite 300
Red Bank, N.J. 07701-6777
(732) 741-3900
Attorneys for Defendant, Cohen, Weiss and Simon LLP

                       UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

 DANIEL D'AMBLY, AARON WOLKIND,        Case No. 2:20-cv-12880-JMV-JSA
 STEVE HARTLEY, RICHARD
 SCHWETZ, JOBEL BARBOSA,
 MATTHEW REIDINGER, JOHN HUGO,                     Civil Action
 SEAN-MICHAEL DAVID SCOTT,
 THOMAS LOUDEN, ZACHARY REHL,            COHEN, WEISS AND SIMON LLP'S
 AMANDA REHL, K.R., a minor, by          NOTICE OF MOTION TO DISMISS
 and through her father ZACHARY         COUNT VI OF PLAINTIFF'S SECOND
 REHL, and her mother AMANDA                   AMENDED COMPLAINT
 REHL, MARK ANTHONY TUCCI,

                         Plaintiffs,
                                       MOTION DATE: February 7, 2022
                  V.

 CHRISTIAN EXOO a/k/a ANTIFASH
 GORDON; ST. LAWRENCE
 UNIVERSITY; TRIBUNE PUBLISHING
 COMPANY; NEW YORK DAILY NEWS;
 VIJAY GADDE; TWITTER, INC.;
 COHEN, WEISS AND SIMON LLP,

                         Defendants.


      PLEASE TAKE NOTICE that Giordano,          Halleran & Ciesla,      P.C.,

counsel for Defendant, Cohen, Weiss and Simon LLP ("CWS"),               shall

move before the United States District Court for the District of

New   Jersey,    located    at   Clarkson   S.   Fisher   Building   &    U.S.

Courthouse, 402 East State Street, Trenton, New Jersey, on February

7, 2022 at 9:00 a.m. or as soon thereafter as counsel may be heard,
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for the entry of an Order dismissing Count VI of the Plaintiff,

Daniel D'Ambly's Second Amended Complaint with prejudice pursuant

to Federal Rule of Civil Procedure 12(b) (6).

       PLEASE TAKE FURTHER NOTICE that in support of the application,

CWS shall rely upon the Certification of Michael J. Canning, Esq.

and Memorandum of Law.

       PLEASE TAKE FURTHER NOTICE that a proposed form of Order is

submitted herewith.



                                    GIORDANO, HALLERAN & CIESLA, P.C.
                                    Attorneys for Defendant, Cohen,
                                    Weiss and Simon LLP




Dated:      January 17, 2022




Docs #5485595-vl




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